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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
v.                                  )                1:21-cr-38
                                    )
BARNETT                             )
____________________________________)

     NOTICE TO THE COURT ON DEFENDANT’S DECISION REGARDING HIS
                           DEFENSE TEAM

TO THE HONORABLE COURT:

       At a status conference on April 3, 2023, the Court requested that Mr. Barnett’s attorneys

file a notice informing the Court as to Mr. Barnett’s decision as to how he would like to proceed

going forward.

       Mr. Barnett had four attorneys for trial, attorneys Joseph McBride, Bradford Geyer, Carol

Stewart, and Jonathan Gross. Mr. Barnett has since decided to terminate his attorney client

relationship with attorneys McBride and Stewart. He has chosen to proceed with attorneys Geyer

and Gross.

       Attorney Geyer has extensive experience with criminal history in the federal system and

with January 6 defendants in particular. He and Mr. Gross represented Mr. Barnett during trial.

Mr. Barnett will have representation through sentencing and to file his Notice of Appeal, if

necessary, supplemented by Mr. Geyer at no charge.

       Mr. Gross spoke with Mr. Barnett since the status conference. Mr. Barnett confirms that

he has terminated his attorney-client relationship with Mr. McBride and Ms. Stewart, and that he

wishes to proceed with Mr. Geyer and Mr. Gross.
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       Mr. Geyer has informed undersigned counsel that he remains convinced of Mr. Barnett’s

innocence and withdraws his request to withdraw based the Court’s comments and based on Mr.

Barnett's decision. Moreover, the attorneys agree that the above arrangement fully satisfies Mr.

Barnett’s defense requirements and is in the interests of justice.




Dated: April 5, 2023                                          Respectfully submitted,




                                                              /s/ Jonathan Gross
                                                              Jonathan Gross
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                                 CERTIFICATE OF SERVICE

  I hereby certify that a copy of the foregoing is being served on opposing counsel via email on

                                           April 5, 2023.

                                         /s/ Jonathan Gross
